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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


           COMMITTEE ON THE JUDICIARY,
           UNITED STATES HOUSE OF
           REPRESENTATIVES,
           2138 Rayburn House Office Building
           Washington, D.C. 20515,

                                       Plaintiff,

                 v.                                                 Case No. 1:19-cv-2379


           DONALD F. MCGAHN II,
           51 Louisiana Avenue, N.W.
           Washington, D.C. 20001,

                                       Defendant.



             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       This is a civil action for declaratory and injunctive relief brought by Plaintiff Committee

on the Judiciary of the United States House of Representatives (Judiciary Committee) against

Defendant Donald F. McGahn II. The suit, which the United States House of Representatives

has expressly authorized, arises out of the Judiciary Committee’s efforts to enforce a duly

authorized, issued, and served Congressional subpoena to McGahn (McGahn Subpoena). The

Judiciary Committee alleges as follows:

                                       INTRODUCTION

       1.       In an unprecedented attack on our Nation’s democratic institutions, “[t]he Russian

government interfered in the 2016 presidential election in sweeping and systematic fashion.”1 In



       1
        Robert S. Mueller III, Report On The Investigation Into Russian Interference In The
2016 Presidential Election, Vol. I at 1 (March 2019) (Report), https://perma.cc/DN3N-9UW8.
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his Report On The Investigation Into Russian Interference In The 2016 Presidential Election

(Report), in his public statement of May 29, 2019, related to the Report, and in testimony before

the Judiciary Committee and House Permanent Select Committee on Intelligence, Special

Counsel Robert S. Mueller III has told Congress and the American people that President Donald

J. Trump repeatedly used his official power to attempt to thwart the Special Counsel’s

investigation into this interference—including into whether any individuals associated with his

own Presidential campaign coordinated with the Russian government.2 The Judiciary Committee

is now determining whether to recommend articles of impeachment against the President based

on the obstructive conduct described by the Special Counsel. But it cannot fulfill this most

solemn constitutional responsibility without hearing testimony from a crucial witness to these

events: former White House Counsel Donald F. McGahn II. McGahn, however, has defied a

Congressional subpoena to appear before the Judiciary Committee, at the direction of President

Trump, who claims McGahn is “absolutely immune” from testifying, a claim with no basis in

law. The Judiciary Committee thus seeks to enforce the McGahn Subpoena in its entirety.

       2.      The Report documents a recurring, troubling pattern of Presidential actions to

obstruct the Special Counsel’s investigation into Russia’s far-reaching interference in the 2016

U.S. election. The Report describes, among other misdeeds, how President Trump attempted to

use his official power to oust Special Counsel Mueller and end his investigation; to force then-

Attorney General Jeff Sessions to transgress Department of Justice (DOJ) ethics rules to limit the



       2
         Report, Vol. II; see also Exhibit A, Oversight of the Report on the Investigation Into
Russian Interference in the 2016 Presidential Election: Former Special Counsel Robert S.
Mueller, III: Hearing Before the H. Comm. on the Judiciary, 116th Cong. (July 24, 2019),
Hearing Tr. at 17; Robert S. Mueller, III, Special Counsel, U.S. Dep’t of Justice, Statement on
Investigation into Russian Interference in the 2016 Presidential Election (May 29, 2019)
(Mueller Public Statement), https://perma.cc/7JY5-48XJ.


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scope of Mueller’s investigation; to demand that White House staff generate false accounts of the

President’s conduct; and to influence witnesses’ testimony or otherwise encourage witnesses not

to cooperate with the investigation.3 In total, the Report provides evidence of ten separate

episodes of potentially obstructive conduct by the President. As Special Counsel Mueller has

emphasized, when a subject of an investigation obstructs that investigation or lies to

investigators, it “strikes at the core of the government’s effort to find the truth and hold

wrongdoers accountable.”4

       3.      Despite the Special Counsel’s recitation of compelling evidence that President

Trump’s actions satisfied each of the elements of criminal obstruction of justice, a DOJ legal

interpretation preventing the indictment of a sitting President means that Congress is the sole

branch of government currently empowered to hold the President accountable. Indeed, the

Report unmistakably invokes Congress’s role, stressing the importance of “constitutional

processes for addressing presidential misconduct.”5 And in his May 29, 2019, statement, Special

Counsel Mueller confirmed that “the Constitution requires a process other than the criminal

justice system to formally accuse a sitting President of wrongdoing.”6

       4.      That process is underway. The Judiciary Committee is conducting an

investigation to understand the scope and extent of misconduct by President Trump, and that

investigation includes consideration of whether the Judiciary Committee should exercise its

Article I powers to recommend articles of impeachment. Articles of impeachment already have

been introduced and referred to the Judiciary Committee in this Congress. To fulfill its duties,




       3
         Report, Vol. II at 7, 157.
       4
         Mueller Public Statement.
       5
         Report, Vol. II at 1.
       6
         Mueller Public Statement.
                                                  3
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the Judiciary Committee must obtain testimony and evidence from witnesses to the President’s

actions to determine whether to recommend such articles against the President, or whether to

recommend additional or alternative articles that the Judiciary Committee may prepare.

       5.      McGahn, who was the White House Counsel during the relevant period, is the

most important witness, other than the President, to the key events that are the focus of the

Judiciary Committee’s investigation. The Report makes clear that McGahn witnessed multiple

serious acts of potential obstruction of justice by the President—including demanding that

McGahn himself have the Special Counsel removed and then create a false record to conceal the

President’s obstructive conduct. Given his central role in these and other events outlined in the

Report, McGahn is uniquely positioned to explain those events, bring additional misconduct to

light, and provide evidence regarding the President’s intent.

       6.      McGahn’s testimony is also essential to the Judiciary Committee’s other

constitutionally authorized legislative and oversight duties, including considering the need for

new legislation and amendments to existing laws addressing the types of misconduct the Report

describes, overseeing ongoing investigations arising from the Special Counsel’s initial

investigation, and ensuring the integrity of our elections in 2020 and beyond.

       7.      Despite the Judiciary Committee’s clear need for McGahn’s testimony, President

Trump has openly declared his opposition to, and intent to block, the Judiciary Committee’s

exercise of these legislative, investigative, and oversight responsibilities—especially as they

relate to the President’s own potential misconduct. The President has declared, for instance, that




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“We’re fighting all the subpoenas,”7 “I don’t want people testifying,”8 and “No Do-Overs!”9

Consistent with that approach, the President has sought to prevent McGahn—now a private

citizen—from testifying before the Judiciary Committee. The day before McGahn’s required

appearance before the Judiciary Committee pursuant to the subpoena at issue in this litigation,

the President purported to direct McGahn not to appear, claiming that McGahn is “absolutely

immune” from compelled testimony.10 The next day, without offering any accommodation,

McGahn failed to appear based on the President’s directive.

       8.       The President’s claim that McGahn is entitled to “absolute immunity” has no

basis in law, and no court has ever accepted this type of blanket claim in response to a

Congressional subpoena. McGahn thus must appear before the Judiciary Committee and answer

all of its Members’ questions unless a valid basis for asserting executive privilege exists as to

any specific matter. To date, the President has not formally attempted to invoke executive

privilege. Moreover, by authorizing the public release of the Report and extensively

commenting about its substance after its release, among other statements and actions, the

President has waived any privilege about matters and information discussed in the Report. When

the Report was released publicly, Attorney General William Barr confirmed that the President

“would not assert privilege over the Special Counsel’s report” and, therefore, the Report



       7
          See Remarks by President Trump Before Marine One Departure, White House (Apr. 24,
2019), https://perma.cc/W7VZ-FZ3T.
        8
          Robert Costa et al., Trump Says He Is Opposed to White House Aides Testifying to
Congress, Deepening Power Struggle with Hill, Wash. Post (Apr. 23, 2019),
https://perma.cc/FL3H-TUXL (“I don’t want people testifying to [House Democrats], because
that is what they’re doing if they do this.”).
        9
          Donald J. Trump (@realDonaldTrump), Twitter (May 22, 2019, 7:31 PM),
https://perma.cc/A5NM-F9B3.
        10
           Exhibit B, Letter from Pat Cipollone, Counsel to the President, to Jerrold Nadler,
Chairman, H. Comm. on the Judiciary, at 1 (May 20, 2019).


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contained “no material … redacted based on executive privilege.”11 And DOJ’s Office of Legal

Counsel (OLC) has acknowledged that the Attorney General’s release “of a redacted version of

the Special Counsel’s report (with the President’s consent) extinguish[ed] the Executive

Branch’s confidentiality interests in the precise information” revealed in the Report.12

       9.      Notwithstanding the President’s broad declaration of his intent to defy all

subpoenas—and his purported direction that McGahn defy this one—the Judiciary Committee

has made every effort at accommodation to avoid the need for this litigation. The Judiciary

Committee has initiated multiple discussions with McGahn’s counsel, as well as the White

House, over several months in an attempt to reach a negotiated resolution—all to no avail. On

July 26, 2019, McGahn made clear that he will follow the President’s directive and will not

comply with the Judiciary Committee’s subpoena for public testimony. The accommodations

process is therefore at an impasse.

       10.     McGahn’s refusal to testify harms the Judiciary Committee by depriving it of a

witness and information that are essential to its investigation, thereby impeding the Judiciary

Committee’s ability to facilitate the House’s fulfillment of its Article I functions. These

functions include the most urgent duty the House can face: determining whether to approve

articles of impeachment. That refusal also is impeding the Judiciary Committee in its ability to

assess the need for remedial legislation and to conduct oversight of DOJ. All of these tasks are

time-limited. The House, and with it the Judiciary Committee’s investigation, expires on




       11
          Press Release, U.S. Dep’t of Justice, Att’y Gen. William P. Barr Delivers Remarks on
the Release of the Report on the Investigation into Russian Interference in the 2016 Presidential
Election (Apr. 18, 2019), https://perma.cc/9GVL-G8XZ (Barr Public Statement).
       12
          Exhibit C, Memorandum from Steven A. Engel, Assistant Att’y Gen., Office of Legal
Counsel, to Pat A. Cipollone, Counsel to the President, Re: Testimonial Immunity Before
Congress of the Former Counsel to the President, at 13 (May 20, 2019).
                                                 6
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January 3, 2021. The delay caused by McGahn’s refusal to testify thus severely impedes the

Judiciary Committee’s ability to do its time-sensitive work. Accordingly, to redress these

injuries, the Judiciary Committee asks this Court to order McGahn to comply with the subpoena

for his testimony and appear before the Judiciary Committee forthwith.

                                 JURISDICTION AND VENUE

       11.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331. This case arises under

Article I of the Constitution of the United States, and implicates Article I, Section 2, Clause 5,

which provides the House of Representatives with “the sole Power of Impeachment,” and Article

I, Section 1, which vests “[a]ll legislative Powers” in the Congress of the United States.

       12.     This Court has authority to issue a declaratory judgment and order other relief that

is just and proper pursuant to 28 U.S.C. §§ 2201 and 2202.

       13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2).

                                             PARTIES

       14.     Plaintiff Committee on the Judiciary of the United States House of

Representatives is a standing committee of the House that, among other duties, exercises

jurisdiction over impeachment and with respect to federal criminal statutes, Presidential

succession, and activities that affect the internal security of the United States. The Judiciary

Committee also conducts oversight of the Department of Justice.

       15.     Defendant Donald F. McGahn II served as White House Counsel to President

Trump from January 20, 2017, until he left the White House on October 17, 2018. McGahn

currently practices law at Jones Day, a law firm, in Washington, D.C.




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                                        ALLEGATIONS

I.     LEGAL FRAMEWORK

       16.     The Judiciary Committee has constitutional and other legal authority to legislate,

investigate, and conduct oversight, including into President Trump’s misconduct related to the

Special Counsel’s investigation.

       17.     Article I of the Constitution provides that “[t]he House of Representatives … shall

have the sole Power of Impeachment.”13 Article I also vests Congress with “[a]ll legislative

Powers.”14 Congress’s powers include the authority to investigate matters relating to subjects

within its broad legislative purview; conduct oversight of Executive Branch agencies; examine

whether those agencies are faithfully, effectively, and efficiently executing the laws; and

determine whether changes to federal law are necessary and proper. The Supreme Court has

long recognized that the Constitution vests the House with the power of inquiry—with process to

enforce it—commensurate with the House’s Article I legislative authority to investigate any

subject on which “legislation could be had.”15

       18.     The Constitution commits to each chamber of Congress the authority to

“determine the Rules of its Proceedings.”16 Pursuant to this authority, the House of

Representatives of the 116th Congress adopted the Rules of the House of Representatives (House

Rules), which govern the House during the current two-year term.17 The House Rules establish




       13
           U.S. Const. Art. I, § 2, cl. 5.
       14
           Id. § 1, cl. 1.
        15
           McGrain v. Daugherty, 273 U.S. 135, 174, 177 (1927).
        16
           U.S. Const. Art. I, § 5, cl. 2.
        17
           See H. Res. 6 (116th Cong.) (2019) (adopting House Rules for 116th Congress); see
also Rules of the House of Representatives, 116th Congress (Jan. 11, 2019) (House Rules),
https://perma.cc/X5ZQ-ZZWD.


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various standing committees, including the Judiciary Committee, and delegate to each committee

“jurisdiction and related functions.”18

       19.     The Judiciary Committee’s jurisdiction includes impeachment.19 Resolutions that

call for impeachment of eligible officials are normally referred by the Speaker of the House to

the Judiciary Committee,20 and are eligible for consideration pursuant to applicable House and

Committee Rules.21 The House also may choose to direct a particular manner for investigating

grounds for impeachment, and in such instances it has voted to refer such investigations to the

Judiciary Committee.22 Whether by direct referral to the Judiciary Committee or referral



       18
           House Rule X.1.
       19
           Jefferson’s Manual, H. Doc. 114-192 § 605, at 321 (2017) (“[R]esolutions … that
directly call for the impeachment of an officer have been referred to the Committee on the
Judiciary[.]”). As Jefferson’s Manual explains, “[i]n the House various events have been
credited with setting an impeachment in motion,” including “charges made on the floor”; “a
resolution introduced by a Member and referred to a committee”; or “facts developed and
reported by an investigating committee of the House.” Id. § 603 at 319.
        20
           See, e.g., 165 Cong. Rec. H211 (daily ed. Jan. 3, 2019) (referral to the Judiciary
Committee of H. Res. 13, 116th Cong., impeaching President Trump); 163 Cong. Rec. H9376
(daily ed. Nov. 15, 2017) (referral to the Judiciary Committee of H. Res. 621,115th Cong.,
impeaching President Trump); 163 Cong. Rec. H5759 (daily ed. July 12, 2017) (referral to the
Judiciary Committee of H. Res. 438, 115th Cong., impeaching President Trump); 162 Cong.
Rec. H4926 (daily ed. July 13, 2016) (referral to the Judiciary Committee of H. Res. 828, 114th
Cong., impeaching John Andrew Koskinen, Commissioner of the Internal Revenue Service); 135
Cong. Rec. 2553 (1989) (referral to the Judiciary Committee of H. Res. 87, 101st Cong.,
impeaching Judge Walter Nixon); 133 Cong. Rec. 6522 (1987) (referral to the Judiciary
Committee of H. Res. 128, 100th Cong., impeaching Judge Alcee Hastings).
        21
           See House Rule XI.2(b) (“Each … committee shall meet for the consideration of a bill
or resolution pending before the committee or the transaction of other committee business on all
regular meeting days fixed by the committee[.]”); House Rule XI.2(c)(1) (“The chair of each
standing committee may call and convene, as the chair considers necessary, additional and
special meetings of the committee for the consideration of a bill or resolution pending before the
committee or for the conduct of other committee business, subject to such rules as the committee
may adopt.”); see also Rule II(c), Rules of the House Committee on the Judiciary for the 116th
Congress (Jan. 24, 2019) (Judiciary Committee Rules) (“The Chairman shall furnish each
Member of the Committee or Subcommittee with the date, place, and a list of bills and subjects
to be considered at a Committee or Subcommittee meeting.”).
        22
           See, e.g., H. Res. 581, 105th Cong. (1998) (instructing the Judiciary Committee to


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following a vote, “[a]ll impeachments to reach the Senate since 1900 have been based on

resolutions reported by the Committee on the Judiciary.”23

        20.     The Judiciary Committee’s legislative and oversight jurisdiction includes, among

other subjects, “[c]riminal law enforcement and criminalization,”24 including the criminal

statutes relevant to the Special Counsel’s investigation into the President’s conduct.25 The

Judiciary Committee’s jurisdiction also encompasses “[t]he judiciary and judicial proceedings,

civil and criminal”; “presidential succession”; and “[s]ubversive activities affecting the internal

security of the United States.”26 Among other matters, the Judiciary Committee exercises

jurisdiction with respect to legislation regarding independent counsels and special counsels.27

The House Rules further mandate that “[a]ll bills, resolutions, and other matters relating to”

subjects within the Judiciary Committee’s jurisdiction be referred to the Judiciary Committee for

its consideration.28

        21.     In addition, as a standing committee, the Judiciary Committee has “general

oversight responsibilities,” including with respect to the “operation of Federal agencies and




investigate grounds for impeachment against President Clinton); H. Res. 803, 93d Cong. (1974)
(instructing the Judiciary Committee to investigate grounds for impeachment against President
Nixon).
        23
           Charles W. Johnson et al., House Practice: A Guide to the Rules, Precedents, and
Procedures of the House, Ch. 27 § 6, at 615 (2017).
        24
           House Rule X.1(l)(7).
        25
           See, e.g., 18 U.S.C. §§ 1503, 1505, 1512(b), (c)(2) (obstruction of justice, witness
tampering, and related offenses).
        26
           House Rule X.1(l).
        27
           See, e.g., H. Rep. No. 103-224 (1993) (describing the Judiciary Committee’s
consideration of legislation to reauthorize the independent counsel statute); 165 Cong. Rec. H208
(daily ed. Jan. 3, 2019) (referral of H.R. 197, the “Special Counsel Independence and Integrity
Act,” 116th Cong., to the Judiciary Committee).
        28
           House Rule X.1, XII.2.


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entities” within its areas of jurisdiction.29 As such, the Judiciary Committee exercises oversight

regarding the structure and functions of the DOJ and the Federal Bureau of Investigation (FBI).30

The Judiciary Committee is charged with, among other responsibilities, reviewing “on a

continuing basis … the application, administration, execution, and effectiveness of laws and

programs” within its jurisdiction.31 The Judiciary Committee must determine whether such laws

are being “implemented and carried out in accordance with the intent of Congress,” and if there

are “any conditions or circumstances that may indicate the necessity or desirability of enacting

new or additional legislation.”32

       22.      The House Rules empower the Judiciary Committee to “conduct at any time such

investigations and studies as it considers necessary or appropriate in the exercise of its

responsibilities” over matters within its jurisdiction.33 To aid these inquiries, the Judiciary

Committee is authorized to issue subpoenas for testimony and documents.34




       29
           House Rule X.2(a), (b)(1)(B).
       30
           See, e.g., Oversight of the U.S. Department of Justice: Hearing Before the H. Comm.
on the Judiciary, 116th Cong. (Feb. 8, 2019) (oversight hearing conducted with Matthew
Whitaker, Acting Attorney General, DOJ); Oversight of the Federal Bureau of Investigation:
Hearing before the H. Comm. on the Judiciary, 115th Cong. (Dec. 7, 2017) (oversight hearing
with Christopher Wray, Director, FBI).
        31
           House Rule X.2(b)(1).
        32
           Id.
        33
           House Rule XI.1(b)(1).
        34
           See House Rule XI.2(m)(1)(B); House Rule XI.2(m)(3)(A)(i); see also Judiciary
Committee Rule IV(a) (“A subpoena may be authorized and issued by the Chairman, in
accordance with clause 2(m) of rule XI of the House of Representatives, in the conduct of any
investigation or activity or series of investigations or activities within the jurisdiction of the
Committee, following consultation with the Ranking Minority Member.”).

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II.    FACTUAL ALLEGATIONS

       A. The Special Counsel’s Report Exposes Compelling Evidence Of Presidential
          Wrongdoing

       23.      The Judiciary Committee’s urgent need for McGahn’s testimony arises out of

evidence uncovered in the Special Counsel’s investigation and detailed in the Report. That

Report describes unprecedented interference by Russia in the 2016 Presidential election and

attempts by the President of the United States to undermine an investigation into that

interference, including into whether individuals associated with his Presidential campaign

coordinated with the Russian government.

       24.      On May 17, 2017, pursuant to DOJ regulations,35 Mueller was appointed as

Special Counsel to investigate “the Russian government’s efforts to interfere in the 2016

presidential election,” including “any links and/or coordination between the Russian government

and individuals associated with the campaign of President Donald Trump”; any other matters

“that arose or may arise directly from the investigation”; and “federal crimes committed in the

course of, and with intent to interfere with, the Special Counsel’s investigation, such as perjury,

obstruction of justice, destruction of evidence, and intimidation of witnesses.”36

       25.      On March 22, 2019, Special Counsel Mueller completed his investigation and

provided a written report to Attorney General Barr.37 On April 18, 2019, Attorney General Barr

released a redacted version of the Report simultaneously to Congress and the public. The Report

is divided into two volumes. Volume I describes the evidence that Russia interfered in our



       35
          28 C.F.R. §§ 600 et seq. (2019).
       36
          Office of the Deputy Attorney General, Order No. 3915-2017, Appointment of Special
Counsel to Investigate Russian Interference with the 2016 Presidential Election and Related
Matters (May 17, 2017); 28 C.F.R. § 600.4 (2019).
       37
          Exhibit D, Letter from William P. Barr, Att’y Gen., U.S. Dep’t of Justice, to Jerrold
Nadler, Chairman, H. Comm. on the Judiciary, et al. (Mar. 22, 2019).
                                                 12
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election to benefit President Trump, and that the Trump Campaign welcomed that interference.

Volume II documents that, once elected, President Trump took a series of actions to undermine

multiple investigations into Russia’s interference and his own possible misconduct. As the

Report recognizes, Congress is currently the sole body that can hold the President accountable

for these actions.

                1. The Report Describes Russia’s Interference In The 2016 Presidential
                   Election And How The Trump Campaign Welcomed Russia’s Assistance

                     a. Russia Interferes In The 2016 Presidential Election To Benefit Then-
                        Candidate Trump

       26.      The Special Counsel’s Report describes a serious attack by a hostile foreign

government on our Nation’s 2016 Presidential election, executed “in sweeping and systematic

fashion” and intended to benefit the Trump Presidential campaign.38 Among other things, the

Russian government, through its main intelligence directorate, the GRU, used cyber intrusions

(hacking) to steal information from then-candidate Hillary Clinton’s campaign and the

Democratic National Committee, as well as from “U.S. state and local entities, such as state

boards of elections … , secretaries of state, and county governments,” all of which were

“involved in the administration of the elections.”39 The Russian-funded Internet Research

Agency also used “information warfare” to “sow discord in the U.S. political system,” with a

“targeted operation that by early 2016 favored candidate Trump and disparaged candidate

Clinton.”40 By the end of the 2016 election, the Internet Research Agency had the ability to

reach “tens of millions of U.S. persons” to further that agenda.41 The evidence obtained by the



       38
          Report, Vol. I at 1; see also id. Vol. I at 1-2.
       39
          Id. Vol. I at 36, 50.
       40
          Id. Vol. I at 4.
       41
          Id. Vol. I at 25-26.


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Special Counsel relating to Russia’s interference resulted in criminal indictments of more than a

dozen defendants.42

                   b. The Trump Campaign Welcomes Russia’s Interference And Maintains
                      Significant Contacts With Russian Nationals

       27.      The Report documents that the Trump Campaign both welcomed Russia’s

interference and did not report the campaign’s repeated contacts with Russian-affiliated

individuals to law enforcement. The Report assesses that the Russian government perceived that

“it would benefit from a Trump presidency,” and the Trump Campaign expected that “it would

benefit electorally from information stolen and released through Russian efforts.”43

       28.       The Report discusses several instances in which then-candidate Trump publicly

encouraged Russian interference efforts. On July 27, 2016, for example, then-candidate Trump

declared at a public rally: “Russia, if you’re listening, I hope you’re able to find the 30,000

emails that are missing. I think you will probably be rewarded mightily by our press.”44 This

was “apparently a reference to emails … stored on a personal server that candidate Clinton had

used while serving as Secretary of State. Within approximately five hours of Trump’s statement,

GRU officers targeted for the first time Clinton’s personal office.”45 Thereafter, then-candidate

Trump began publicly praising WikiLeaks, including after WikiLeaks released stolen emails

damaging to the Clinton Campaign. For instance, on October 7, 2016, the Washington Post

published an Access Hollywood video that depicted Trump years earlier in a way that was widely

expected to be damaging to his campaign. Less than an hour after the video’s release,

WikiLeaks released emails stolen from Clinton’s campaign chairman, John Podesta, that were


       42
          Id. Vol. I at 14 n.4; see also id. Vol. I at 174-75.
       43
          Id. Vol. I at 1-2.
       44
          Id. Vol. I at 49.
       45
          Id.


                                                  14
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harmful to Clinton’s campaign.46 In response, on October 10, 2016, then-candidate Trump

tweeted: “This just came out. WikiLeaks! I love WikiLeaks!” and later: “This WikiLeaks stuff

is unbelievable. It tells you the inner heart, you gotta read it,” and “[b]oy, I love reading those

WikiLeaks.”47 During the Special Counsel’s July 24, 2019, testimony before the House

Permanent Select Committee on Intelligence, Mueller explained that describing these tweets as

“‘problematic’ is an understatement,” including because they gave “hope or some boost to what

is and should be illegal activity.”48

        29.      The Report also describes evidence suggesting that President Trump knew about

upcoming releases of stolen emails in advance. Deputy Campaign Manager Rick Gates, for

example, explained to the Special Counsel’s Office that after WikiLeaks had released its first set

of stolen emails in July 2016, then-candidate Trump “told Gates that more releases of damaging

information would be coming.”49 WikiLeaks in fact released more emails in October 2016.50

        30.      The Report further recounts that, while Russia was interfering in the 2016

Presidential election and releasing stolen emails, senior members of the Trump Campaign were

maintaining significant contacts with Russian nationals and seeking damaging information on

candidate Hillary Clinton. For example, in the spring of 2016, Trump Campaign foreign policy

adviser George Papadopoulos met repeatedly with Russian officials and was told that Russia had

“dirt” on Clinton “in the form of thousands of emails.”51 Similarly, on June 3, 2016, publicist



        46
          Id. Vol. I at 58.
        47
          Exhibit E, Former Special Counsel Robert S. Mueller III on the Investigation into
Russian Interference in the 2016 Presidential Election: Hearing Before the H. Permanent Select
Comm. on Intelligence, 116th Cong. (July 24, 2019), Hearing Tr. at 49.
       48
          Id.
       49
          Report, Vol. I at 54.
       50
          Id. Vol. I at 58.
       51
          Id. Vol. I at 5-6.


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Rob Goldstone, on behalf of Russian real estate developers, emailed Donald Trump Jr. to set up

a meeting to discuss Russian officials’ possession of “some official documents and information

that would incriminate Hillary [Clinton] and her dealings with Russia and would be very useful

to [Trump Jr.’s] father,” which Goldstone conveyed was “part of Russia and its government’s

support for Mr. Trump.”52 Trump Jr. responded, “if it’s what you say I love it.”53 Less than a

week later, Trump Jr. and other “senior representatives of the Trump Campaign met in Trump

Tower with a Russian attorney expecting to receive derogatory information about Hillary Clinton

from the Russian government.”54 Around this same time, Trump Campaign Chairman Paul

Manafort was offering private briefings on the campaign to a Russian oligarch55 and routinely

causing internal campaign polling data to be shared with a Russian national who has “ties to

Russian intelligence.”56

       31.      In total, the Report details well over 100 contacts between individuals associated

with the Trump Campaign and Russian nationals or their agents during this period.57 There is no

indication that anyone from the Trump Campaign, including the candidate, reported any of these

contacts or offers of foreign assistance to U.S. law enforcement. As Mueller confirmed,

reporting such information is something that campaigns “would and should do,” including

because “knowingly accepting foreign assistance during a Presidential campaign” is a crime.58


       52
           Id. Vol. I at 113.
       53
           Id.
        54
           Id. Vol. I at 110.
        55
           Id. Vol. I at 137.
        56
           Id. Vol. I at 129; see id. at 133-34, 136-37.
        57
           See Karen Yourish and Larry Buchanan, Mueller Report Shows Depth of Connections
Between Trump Campaign and Russians, N.Y. Times (April 19, 2019), https://perma.cc/756L-
CH2J (“Donald J. Trump and 18 of his associates had at least 140 contacts with Russian
nationals and WikiLeaks, or their intermediaries, during the 2016 campaign and presidential
transition, according to a New York Times analysis.” (emphasis omitted)).
        58
           Exhibit E, Hearing Tr. at 30, 88.
                                                16
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                2. The Report Details President Trump’s Attempts To Undermine The
                   Investigation Into Russia’s Election Interference And His Own Possible
                   Misconduct, Events To Which McGahn Is A Key Witness

       32.      In Volume II, the Report describes substantial evidence that President Trump

repeatedly attempted to shut down the investigation into Russia’s interference in America’s 2016

election and to conceal his own involvement and potential misconduct from the public. The

Report identifies McGahn, who was the White House Counsel during the relevant time period, as

having been involved in or a witness to many of the most egregious instances of possible

obstructive conduct and attempted coverup.

       33.      Specifically, the Report details at least ten separate episodes of potentially

obstructive conduct by the President, ranging “from efforts to remove the Special Counsel and to

reverse the effect of the Attorney General’s recusal; to the attempted use of official power to

limit the scope of the investigation”;59 to demanding that McGahn create a false record;60 “to

direct and indirect contacts with witnesses with the potential to influence their testimony”;61 to

“encourag[ing] witnesses not to cooperate with the investigation.”62 These incidents were “often

carried out through one-on-one meetings in which the President sought to use his official power

outside of usual channels.”63 The most significant of these episodes, all of which McGahn

directly witnessed or otherwise was involved in, are set forth in additional detail below.

                   a. President Trump Fires His National Security Advisor And The FBI
                      Director During The Russia Investigation

       34.      McGahn was a key witness to the events leading up to President Trump’s

decisions to terminate both National Security Advisor Michael Flynn and FBI Director James


       59
          Report, Vol. II at 157.
       60
          Id. Vol. II at 119.
       61
          Id. Vol. II at 157.
       62
          Id. Vol. II at 7.
       63
          Id. Vol. II at 157.
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Comey in apparent attempts to end the investigation into Russian interference, which the FBI

was conducting at the time.

       35.      The Report recounts that, during the transition period before President Trump

took office, incoming National Security Advisor Flynn made false statements to Vice President-

elect Michael Pence and other incoming Administration officials regarding his communications

with the Russian ambassador about “sanctions on Russia for its election interference.”64 Those

incoming officials thereafter made public statements, based on Flynn’s representations to them,

that Flynn had not discussed sanctions with the Russian ambassador.65 During the first week of

the new Administration, on January 24, 2017, Flynn also lied to FBI investigators about the

discussions. Two days later, DOJ informed McGahn that the statements made by Vice President

Pence and others—based on what Flynn had told them—were false, which “put Flynn in a

potentially compromised position because the Russians would know he had lied.”66 “That

afternoon, McGahn notified the President” of what he had been told, and explained that Flynn’s

false statements to federal investigators could constitute a federal crime.67 Flynn remained in his

position, however, for over two weeks until February 13, 2017, when the President requested his

resignation.68 President Trump told an outside adviser the next day, “[n]ow that we fired Flynn,

the Russia thing is over.”69

       36.      McGahn was also a primary witness to President Trump’s efforts to shut down the

Russia investigation by attempting to influence, and ultimately removing, Comey. On February



       64
          Id. Vol. II at 3.
       65
          Id. Vol. II at 29-30.
       66
          Id. Vol. II at 31.
       67
          Id.
       68
          Id. Vol. II at 38.
       69
          Id.


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14, 2017, the day after Flynn resigned, President Trump “cleared the [Oval Office]” to have a

one-on-one meeting with Comey.70 According to the Report, during this meeting the President

told Comey, “I hope you can see your way clear to letting this go, to letting Flynn go.”71 The

Report finds that “[e]vidence does establish that the President connected the Flynn investigation

to the FBI’s broader Russia investigation and that he believed, as he told [an adviser], that

terminating Flynn would end ‘the whole Russia thing.’”72

       37.      Despite these conversations, on March 20, 2017, Comey testified for the first time

publicly before the House Permanent Select Committee on Intelligence that the FBI was

continuing to investigate Russia’s interference in the 2016 election, including any coordination

between Russia and the Trump Campaign during the interference.73 Three weeks after that

testimony, “the President told senior advisors, including McGahn … that he had reached out to

Comey twice in several weeks. The President acknowledged that McGahn would not approve of

the outreach to Comey because McGahn had previously cautioned the President that he should

not talk to Comey directly to prevent any perception that the White House was interfering with

investigations.”74 However, President Trump, against the advice of McGahn, repeatedly asked

“intelligence community officials,” including Comey, “to push back publicly on any suggestion

that the President had a connection to the Russian election-interference effort.”75 Comey refused



       70
           Id. Vol. II at 47.
       71
           Id. Vol. II at 40.
        72
           See id. Vol. II at 47.
        73
           Id. Vol. II at 52-53; see also Matthew Rosenberg et al., Comey Confirms F.B.I. Inquiry
on Russia; Sees No Evidence of Wiretapping, N.Y. Times (Mar. 20, 2017),
https://perma.cc/46WT-TVTC.
        74
           Report, Vol. II at 59.
        75
           Id. Vol. II at 55, 59 (after acknowledging he had reached out to Comey, “[t]he
President told McGahn that Comey had indicated the FBI could make a public statement that the
President was not under investigation if the Department of Justice approved that action”).


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to do so and again confirmed the FBI’s investigation into Russian interference and any related

coordination with the Trump Campaign during testimony on May 3, 2017, before the Senate

Judiciary Committee.

       38.      Six days later, the President fired Comey and subsequently provided conflicting

explanations for his dismissal, some of which the Special Counsel determined were

“pretextual.”76 McGahn was an integral witness to these events. For example, McGahn

participated in a May 8, 2017, meeting in which President Trump informed senior White House

aides that he “had decided to terminate Comey,” read aloud his draft termination letter—which

stated that the President was not personally under investigation—and told his aides that his

decision “was not up for discussion.”77 “In an effort to slow down the decision-making process,”

McGahn suggested that that he and other attorneys from the White House Counsel’s Office

should discuss the issue with Attorney General Sessions and Deputy Attorney General Rod

Rosenstein before the President took action.78 McGahn and another attorney in fact met with

Sessions and Rosenstein to obtain their views, and McGahn was present at another meeting later

that day when President Trump asked Rosenstein to draft a memorandum with his

recommendation to terminate Comey, and told him to “[p]ut the Russia stuff in the memo.”79

During a meeting the next day, McGahn and the rest of the White House Counsel’s Office

reached a consensus that President Trump’s initial draft termination letter should “not see the

light of day” and that it would be better to offer “[n]o other rationales” for Comey’s firing aside

from what was in Sessions’s and Rosenstein’s memoranda, which justified Comey’s firing only



       76
          Id. Vol. II at 62, 75, 77.
       77
          Id. Vol. II at 65-66.
       78
          Id. Vol. II at 66.
       79
          Id. Vol. II at 66-67.


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on the ground that Comey had mishandled the investigation into Hillary Clinton’s use of a

private email server.80

       39.      After the White House released an official statement that “President Trump acted

based on the clear recommendations of” Sessions and Rosenstein,81 both “Sessions and

Rosenstein … spoke to McGahn and expressed concern that the White House was creating a

narrative that Rosenstein had initiated the decision to fire Comey.”82 As the Report notes,

“[s]ubstantial evidence indicates that the catalyst for the President’s decision to fire Comey” was

actually “Comey’s unwillingness to publicly state that the President was not personally under

investigation, despite the President’s repeated requests that Comey make such an

announcement.”83 The Report finds evidence indicating that the President took these actions

because he “wanted to protect himself from an investigation into his campaign.”84 Indeed, the

day after President Trump fired Comey, the President told Russian officials that he had “faced

great pressure because of Russia. That’s taken off.”85

                   b. President Trump Orders McGahn To Remove The Special Counsel

       40.      Once the media began reporting that the Special Counsel was investigating the

President for obstruction of justice, President Trump repeatedly sought McGahn’s help to

remove Special Counsel Mueller.



       80
          Id. Vol. II at 68 (brackets omitted).
       81
          Id. Vol. II at 69.
       82
          Id. Vol. II at 72-73.
       83
          Id. Vol. II at 75.
       84
          Id. Vol. II at 76.
       85
          Id. Vol. II at 71; see also id. Vol. II at 73 (noting that on May 11, 2017, President
Trump told Lester Holt, “I was going to fire regardless of recommendation … . [Rosenstein]
made a recommendation. But regardless of recommendation, I was going to fire Comey … .
And in fact, when I decided to just do it, I said to myself—I said, you know, this Russia thing
with Trump and Russia is a made-up story”).


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       41.      On June 14, 2017, “the Washington Post published an article stating that the

Special Counsel was investigating whether the President had attempted to obstruct justice.”86 On

Saturday, June 17, President Trump twice called McGahn at home to direct him to fire Mueller.

During the June 17 calls, the President said to McGahn: “You gotta do this. You gotta call Rod

[Rosenstein]. … Mueller has to go. … Call me back when you do it.”87 Those calls were part

of a “continuous colloquy” of the President directing McGahn to have Mueller removed, and “a

continuous involvement of Don McGahn responding to the President’s entreaties.”88 After

receiving those calls, McGahn “recalled feeling trapped” and “decided he had to resign.”89 Only

after two of President Trump’s senior advisers “urged McGahn not to quit” did he decide to

remain.90 The Report does not explain what changed McGahn’s mind about his resignation.91

       42.      The Report also explains that President Trump “knew that he should not have

made those calls to McGahn,” including because “McGahn had specifically told the President

that the White House Counsel’s Office—and McGahn himself—could not be involved in

pressing” claims that Mueller had “conflicts of interest.”92 Indeed, before the June 17 calls, the

President had urged McGahn to tell DOJ that Mueller had conflicts of interest.93 McGahn had

declined, telling the President that if he wanted to raise that issue he should do so through his




       86
          Id. Vol. II at 84.
       87
          Id. Vol. II at 85-86.
       88
          Exhibit A, Hearing Tr. at 54.
       89
          Report, Vol. II at 86.
       90
          Id. Vol. II at 87.
       91
          Id.
       92
          Id. Vol. II at 90.
       93
          Id. Vol. II at 81.


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private attorney—and advising him that this “would ‘look like still trying to meddle in the

investigation’” and “would be ‘another fact used to claim obstruction of justice.’”94

       43.      In fact, the Report finds “[s]ubstantial evidence” that the President’s “attempts to

remove the Special Counsel were linked to the Special Counsel’s oversight of investigations that

involved the President’s conduct—and, most immediately, to reports that the President was being

investigated for potential obstruction of justice.”95

                   c. President Trump Demands That McGahn Create A False Record To
                      Cover Up His Attempt To Fire The Special Counsel

       44.      The Report also describes significant measures that President Trump took to

conceal this and other misconduct from the public—including directing McGahn to create a false

record denying that the President had ordered him to fire Mueller. On January 25, 2018, news

reports broke that President Trump had ordered McGahn to have Mueller fired the previous

summer.96 Shortly thereafter, the President—first through his personal counsel and two aides,

and then by “personally [meeting] with McGahn in the Oval Office”—“tried to get McGahn” to

put out a public statement and “write a letter to the file ‘for [White House] records’” disputing

the event.97 Even when McGahn expressed that he “did not want to issue a statement or create a

written record denying facts that [he] believed to be true,” the “President nevertheless persisted

and asked McGahn to repudiate facts that McGahn had repeatedly said were accurate.”98




       94
           Id. Vol. II at 81-82 (quoting Donaldson’s notes) (brackets omitted); see also id. Vol. II
at 90 (“The evidence indicates that news of the obstruction investigation prompted the President
to call McGahn and seek to have the Special Counsel removed.”).
        94
           Id. Vol. II at 89.
        95
           Id. Vol. II at 89.
        96
           Id. Vol. II at 113.
        97
           Id. Vol. II at 113, 115 (quoting statement by staff secretary Robert Porter).
        98
           Id. Vol. II at 119.


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       45.      During the President’s meeting with McGahn about this issue, which Chief of

Staff John Kelly described as “‘a little tense,’” the President also asked McGahn “why he had

told [the Special Counsel] that the President had told him to have the Special Counsel

removed.”99 McGahn “responded that he had to and that his conversations with the President

were not protected by attorney-client privilege.”100 The President further asked, “[w]hat about

these notes? Why do you take notes? Lawyers don’t take notes. I never had a lawyer who took

notes,” to which McGahn responded that he kept notes because he is a “real lawyer and

explained that notes create a record and are not a bad thing.”101

       46.      The Report, as confirmed by Mueller’s testimony to the Judiciary Committee,

finds “substantial evidence support[ing] McGahn’s account that the President had directed him to

have the Special Counsel removed,” and, moreover, that the President’s direction to McGahn to

deny those facts was an effort “to deflect or prevent further scrutiny of the President’s conduct

towards the investigation.”102

                   d. President Trump Urges McGahn To Pressure Attorney General Sessions
                      To Transgress Federal Ethics Rules In An Effort To Limit The Scope Of
                      The Special Counsel’s Investigation

       47.      The Report documents McGahn’s role in other efforts by President Trump to

interfere in the Russia investigation. For example, on March 2, 2017, the President enlisted

McGahn to tell Attorney General Sessions “not to recuse himself from the Russia

investigation.”103 When that effort failed, “McGahn was called into the Oval Office,” where the

President personally “expressed anger at McGahn about the recusal” and stated, “I don’t have a


       99
          Id. Vol. II at 117.
       100
           Id.
       101
           Id. (internal citations omitted).
       102
           Id. Vol. II at 118, 120; see also Exhibit A, Hearing Tr. at 70, 79-80.
       103
           Report, Vol. II at 49.


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lawyer.”104 The President subsequently “spoke with Sessions about reversing his recusal so that

he could take over the Russia investigation and begin an investigation and prosecution of Hillary

Clinton.”105 On two other occasions, the President asked his former campaign manager, Corey

Lewandowski, to deliver a message to “Sessions to limit the Special Counsel investigation to

future election interference,” as opposed to investigating the President or his campaign’s

conduct.106

       48.     According to the Report, “at least one purpose of the President’s conduct toward

Sessions was to have Sessions assume control over the Russia investigation and supervise it in a

way that would restrict its scope.”107 More specifically, the Report details evidence that the

President believed that, if Sessions assumed control of the investigation, he “would play a

protective role and could shield the President from the ongoing Russia investigation.”108

       49.     When the President asked Sessions to reverse his decision to recuse himself, he

was aware that DOJ had determined that federal ethics rules prohibited Sessions’s involvement

in the investigation; indeed, as DOJ publicly explained, those regulations state that a DOJ

attorney “should not participate in investigations” that pertain to individuals “with whom the

attorney has a political or personal relationship,” and Sessions had participated in the Trump



       104
            Id. Vol. II at 50.
       105
            See, e.g., id. Vol. II at 112 (“The President had previously and unsuccessfully sought
to have Sessions publicly announce that the Special Counsel investigation would be confined to
future election interference.”).
        106
            Id. Vol. II at 5.
        107
            Id. Vol. II at 112.
        108
            Id. Vol. II at 113. President Trump’s own public statements confirm the Special
Counsel’s findings. On July 29, 2017, the President told the New York Times: “Sessions should
have never recused himself, and if he was going to recuse himself, he should have told me before
he took the job, and I would have picked somebody else.” Peter Baker et al., Citing Recusal,
Trump Says He Wouldn’t Have Hired Sessions, N.Y. Times (July 19, 2017),
https://perma.cc/E9UU-SMV8.


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Campaign,109 and even appeared at events on behalf of then-candidate Trump.110 The President

also ignored previous warnings from McGahn that “he should not communicate directly with the

Department of Justice to avoid the perception or reality of political interference in law

enforcement.”111

                   e. President Trump Attempts To Influence Witnesses Or Prevent Them
                      From Cooperating With The Special Counsel’s Investigation

       50.     The Report describes evidence—including testimony from McGahn—that the

President’s efforts to obstruct the investigation also included attempts to prevent witnesses from

cooperating with the Special Counsel or otherwise influence their testimony. For example,

McGahn told the Special Counsel that the “President discussed with aides whether and in what

way [his former Campaign Chairman] Manafort might be cooperating with the Special Counsel’s

investigation, and whether Manafort knew any information that would be harmful to the

President.”112 The Report then discusses evidence suggesting that President Trump “intended to

encourage Manafort to not cooperate with the government.”113 Indeed, Manafort told his former

deputy, Gates, not to plead to any charges, because “he had talked to the President’s personal

counsel and they [are] ‘going to take care of us.’”114

       51.     The Report recounts other evidence that, similarly, could “support an inference

that the President used inducements in the form of positive messages in an effort to get [the


       109
            Exhibit F, Department of Justice Issues Statement on Testimony of Former FBI
Director James Comey, U.S. Dep’t of Justice (June 8, 2017) (citing 28 C.F.R. 45.2 (2019)).
        110
            See, e.g., Ashley Parker and Matt Flegenheimer, Jeff Sessions, Virulent Opponent To
2013 Immigration Bill, Endorses Donald Trump, N.Y. Times (Feb. 26. 2016),
https://perma.cc/9EDL-ZA5J; Trump in Phoenix: 10-point Plan to End Illegal Immigration,
Ariz. Republic (Aug. 31, 2016), https://perma.cc/5AMK-YVEK.
        111
            Report, Vol. II at 33.
        112
            Id. Vol. II at 123.
        113
            Id. Vol. II at 132.
        114
            Id. Vol. II at 123.


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President’s former personal attorney Michael] Cohen not to cooperate, and then turned to attacks

and intimidation to deter the provision of information or undermine Cohen’s credibility once

Cohen began cooperating.”115 On August 22, 2018, for instance, the day after Cohen pleaded

guilty to various campaign-finance violations and other charges, the President stated in a live

interview: “[Cohen] makes a better deal when he uses me, like everybody else.”116

               3. President Trump Attacks The Special Counsel’s Investigation And
                  Denies McGahn’s Factual Account

       52.     Both before and after the release of the Special Counsel’s Report, the President

has sought to cast doubt on the integrity of the Special Counsel’s investigation and has publicly

disputed McGahn’s account of the facts.

       53.     On more than 300 occasions, the President has described the Special Counsel’s

investigation as a “Witch Hunt” or a “Hoax.”117 The President has called the investigation

“treason” or “treasonous” more than twenty times,118 accused the Special Counsel and his team

of being “highly conflicted” at least a dozen times,119 and targeted the FBI investigators and the

Special Counsel’s team as “very sick and dangerous people who have committed very serious

crimes, perhaps even Spying or Treason.”120




       115
            Id. Vol. II at 154.
       116
            Id. Vol. II at 126.
        117
            “Witch Hunt,” FactBase (last visited Aug. 6, 2019), https://perma.cc/7N6N-DTEH
(view live page); “Hoax,” FactBase (last visited Aug. 7, 2019), https://perma.cc/7BYU-KDAJ
(view live page).
        118
            “Treason,” FactBase (last visited Aug. 6, 2019), https://perma.cc/4AVC-FX4C (view
live page); “Treasonous,” FactBase (last visited Aug. 6, 2019), https://perma.cc/8VL7-ANE8
(view live page).
        119
            “Highly Conflicted,” FactBase (last visited Aug. 6, 2019), https://perma.cc/U4LN-
B8JG (view live page).
        120
            Donald J. Trump (@realDonaldTrump), Twitter (Apr. 19, 2019, 1:47 PM),
https://perma.cc/8AHS-2AC5.


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       54.     The President also has publicly disputed the evidence described in the Report,

focusing his attacks on discrediting McGahn and his crucial interviews with the Special Counsel.

For example, shortly after the Report was made public, the President denied McGahn’s

statements to the Special Counsel, stating, “I never told then White House Counsel Don McGahn

to fire Robert Mueller, even though I had the legal right to do so. If I wanted to fire Mueller, I

didn’t need McGahn to do it, I could have done it myself.”121 He has further attacked McGahn’s

integrity, tweeting: “I was NOT going to fire Bob Mueller, and did not fire Bob Mueller. In fact,

he was allowed to finish his Report with unprecedented help from the Trump Administration.

Actually, lawyer Don McGahn had a much better chance of being fired than Mueller. Never a

big fan!”122 And in a televised interview, the President stated: “I was never going to fire

Mueller. I never suggested firing Mueller. … I don’t care what [McGahn] says. It doesn’t

matter.”123 When asked why McGahn would “lie under oath,” the President responded:

“Because he wanted to make … himself look like a good lawyer. Or … he believed it because I

would constantly tell anybody that would listen … that Robert Mueller was conflicted.”124




       121
            Donald J. Trump (@realDonaldTrump), Twitter (Apr. 25, 2019, 7:47 AM),
https://perma.cc/CLP3-RU9H; see also Philip Rucker et al., Trump Blames McGahn After
Mueller Paints Damning Portrait with Notes from White House Aides, Wash. Post (Apr. 19,
2019), https://perma.cc/MS5Z-KVRJ (President tweeting: “[w]atch out for people that take so-
called ‘notes,’ when the notes never existed until needed,” contradicting the testimony of
multiple witnesses interviewed by the Special Counsel’s Office who described contemporaneous
notes including those taken by Annie Donaldson, McGahn’s chief of staff).
        122
            Donald J. Trump (@realDonaldTrump), Twitter (May 11, 2019, 6:39 PM).
https://perma.cc/6GHX-4ZPU.
        123
            Transcript: ABC News’ George Stephanopoulos’ Exclusive Interview with President
Trump, ABC News (June 16, 2019), https://perma.cc/3WL3-G8J9.
        124
            Id.


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               4. The Special Counsel Declines To Render A Prosecutorial Judgment,
                  Leaving Congress To Address Any Presidential Wrongdoing

       55.     One consideration that guided the Special Counsel’s investigation was his

determination “not to make a traditional prosecutorial judgment” regarding whether to

recommend initiating or declining criminal charges against President Trump for obstruction of

justice.125 The Report explains that this decision derived from DOJ’s legal interpretation barring

the indictment of a sitting President, and the resulting “fairness” concerns of accusing the

President of a crime when no charges could be brought, leaving the President with no

opportunity to vindicate himself in court.126 Mueller confirmed in his testimony to the Judiciary

Committee on July 24, 2019, that he did not make a charging decision “because of [the] OLC

opinion stating that you cannot indict a sitting President.”127 The Report makes clear, however,

that if the Special Counsel’s Office “had confidence after a thorough investigation of the facts

that the President clearly did not commit obstruction of justice, [it] would so state.”128

       56.     Absent a charging decision from the Special Counsel, while the President remains

in office, only Congress can address the Presidential wrongdoing described in the Report. As the

Special Counsel recognized, “no person is above the law.”129 It is therefore up to Congress to

hold the President accountable if appropriate after an independent investigation. The Special

Counsel recognized as much in his Report, noting that bringing charges against a sitting

President could “potentially preempt constitutional processes for addressing presidential




       125
           Report, Vol. II at 1.
       126
           Id. Vol. II at 1-2.
       127
           Exhibit A, Hearing Tr. at 109.
       128
           Report, Vol. II at 2.
       129
           Id. Vol. II at 8.


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misconduct.”130 In his May 29, 2019, statement to the press, Mueller reaffirmed the notion that

Congress is the proper body to respond to the Report and the evidence of potential Presidential

misconduct: The “Constitution requires a process other than the criminal justice system to

formally accuse a sitting President of wrongdoing.”131

       B.      The Judiciary Committee Has Commenced An Independent Investigation
               Into Whether The President Has Engaged In Misconduct And McGahn’s
               Testimony Is Necessary For The Judiciary Committee To Fulfill Its
               Constitutional Functions

       57.     The House of Representatives has a grave constitutional responsibility to address

this serious evidence of potential Presidential misconduct, and the Judiciary Committee is in the

process of fulfilling that duty. On March 4, 2019, the Judiciary Committee opened an

investigation into allegations of misconduct by the President and his associates. Pursuant to that

investigation, the Judiciary Committee is conducting oversight and hearings, including assessing

whether to exercise its Article I power to recommend articles of impeachment against the

President, including those articles already referred to the Judiciary Committee, and considering

significant remedial legislation and amendments to existing laws.132 But the Judiciary

Committee cannot fulfill these constitutional responsibilities without full access to critical

evidence, including testimony from McGahn, who was a key witness to many of the most

egregious obstructive acts described in the Special Counsel’s Report.



       130
            Id. Vol. II at 1 (citing the Impeachment Clause of the Constitution and OLC opinion
“discussing [the] relationship between impeachment and criminal prosecution of a sitting
President”).
        131
            Mueller Public Statement.
        132
            See 165 Cong. Rec. H211 (daily ed. Jan. 3, 2019) (referral of H. Res. 13, 116th Cong.
(2019)); see also H. Rep. No. 116-105, at 13 (2019) (purposes of the Committee’s investigation
include considering “whether the conduct uncovered may warrant amending or creating new
federal authorities” and “whether any of the conduct described in the [Mueller] Report warrants
the Committee in taking any further steps under Congress’ Article I power,” including
recommendation of “articles of impeachment”).
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               1. The Judiciary Committee’s Independent Investigation Into “Threats To
                  The Rule Of Law,” Including Presidential Misconduct

       58.     An independent Judiciary Committee investigation into the conduct described in

the Special Counsel’s Report is well underway. Beginning in February 2019, Chairman Nadler

and the chairs of other committees with relevant jurisdiction alerted Attorney General Barr of

Congress’s need to review the full Report, once completed, as well as the underlying evidence

and investigative materials. As the Chairs explained, “because the Department has taken the

position that a sitting President is immune from indictment and prosecution, Congress could be

the only institution currently situated to act on evidence of the President’s misconduct.”133

       59.     On March 4, 2019, as that evidence began to mount,134 the Judiciary Committee

officially opened a multi-faceted investigation into “threats to the rule of law” that would

encompass alleged obstruction of justice, public corruption, and other abuses of power by

President Trump, his associates, and members of his Administration. As Chairman Nadler




       133
             See Exhibit G, Letter from Jerrold Nadler, Chairman, H. Comm. on the Judiciary, et
al., to William P. Barr, Att’y Gen., U.S. Dep’t of Justice, at 2 (Feb. 22, 2019).
         134
             See, e.g., Mark Mazzetti et al., Intimidation, Pressure and Humiliation: Inside
Trump’s Two-Year War on the Investigations Encircling Him, N.Y. Times (Feb. 19, 2019),
https://perma.cc/7TR6-EN32 (“[Trump] asked whether Geoffrey S. Berman, the United States
attorney for the Southern District of New York and a Trump ally, could be put in charge of the
widening [hush payment] investigation”); Larry Buchanan & Karen Yourish, Trump Has
Publicly Attacked the Russia Investigation More Than 1,100 Times, N.Y. Times (Feb. 19, 2019),
https://perma.cc/RNJ5-HH5G (“The [President’s] attacks … are part of a strategy to beat back
the investigations. They include statements made on Twitter, in official speeches, at rallies and
during news media interviews and other press events.”); Matt Zapotosky et al., Cohen Tells
Congress Trump Knew About WikiLeaks’ Plans, Directed Hush-Money Payments, Wash. Post
(Feb. 27, 2019), https://perma.cc/VPV7-TUDS (Cohen described hush money payments, which
he admitted “violated campaign finance laws,” and he “emphasized that the ‘coverup’ of that
crime continued when Trump was president.”).


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explained, “[i]nvestigating these threats to the rule of law is an obligation of Congress and a core

function of the House Judiciary Committee.”135

       60.     On March 14, 2019, the House of Representatives approved H. Con. Res. 24,

calling for the release to Congress of the full Report, once completed, by a vote of 420-0.136 On

April 18, 2019, the Judiciary Committee issued a subpoena for the Report and underlying

evidence and investigative materials.137

       61.     When Attorney General Barr failed to comply with the Judiciary Committee’s

subpoena for the full Report and underlying materials, the Judiciary Committee voted on May 8,

2019, to recommend that the Attorney General be held in contempt of Congress.138 In its

accompanying report, the Judiciary Committee detailed the purposes of its investigation and

need for the materials:

        (1) [I]nvestigating and exposing any possible malfeasance, abuse of power,
       corruption, obstruction of justice, or other misconduct on the part of the President
       or other members of his Administration; (2) considering whether the conduct
       uncovered may warrant amending or creating new federal authorities, including
       among other things, relating to election security, campaign finance, misuse of
       electronic data, and the types of obstructive conduct that the Mueller Report
       describes; and (3) considering whether any of the conduct described in the Special
       Counsel’s Report warrants the Committee in taking any further steps under
       Congress’ Article I powers. That includes whether to approve articles of
       impeachment with respect to the President or any other Administration official[.]139


       135
            Press Release, H. Comm. on the Judiciary, House Judiciary Committee Unveils
Investigation Into Threats Against the Rule of Law (Mar. 4, 2019), https://perma.cc/MPM8-
3MAA.
        136
            Roll No. 125, 116th Cong. (Mar. 14, 2016).
        137
            See Exhibit H, Subpoena from the Judiciary Committee to William P. Barr, Att’y
Gen., U.S. Dep’t of Justice (Apr. 18, 2019); see also Exhibit I, Letter from Jerrold Nadler,
Chairman, H. Comm. on the Judiciary, et al., to William P. Barr, Att’y Gen., U.S. Dep’t of
Justice, at 2-3 (Apr. 1, 2019) (explaining Congress’s need for these materials).
        138
            H. Rep. No. 116-105, at 17.
        139
            H. Rep. No. 116-105, at 13. The Judiciary Committee has stressed its authority and
the importance of its investigation on many other occasions. See, e.g., Exhibit J, Letter from
Jerrold Nadler, Chairman, H. Comm. on the Judiciary, et al., to William P. Barr, Att’y Gen., U.S.


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       62.     Beginning in June 2019, the Judiciary Committee convened a series of hearings to

facilitate its investigation, including to assess the specific evidence of Presidential obstruction

documented in the Report and the constitutional processes for addressing such Presidential

misconduct.140 Chairman Nadler has explained that, in connection with this investigation, “[t]he

Committee seeks key documentary evidence and intends to conduct hearings with Mr. McGahn

and other critical witnesses testifying to determine whether the Committee should recommend

articles of impeachment against the President or any other Article I remedies, and if so, in what

form.”141 He also stressed that this evidence is necessary for the Judiciary Committee to

consider “whether the conduct uncovered may warrant amending or creating new federal

authorities.”142 Indeed, numerous bills related to the issues identified in the Report and to which




Dep’t of Justice, at 1 (Mar. 22, 2019); Exhibit K, Letter from Jerrold Nadler, Chairman, H.
Comm. on the Judiciary, et al., to Pat A. Cipollone, Counsel to the President, at 1 (Mar. 22,
2019); Exhibit L, Letter from Jerrold Nadler, Chairman, H. Comm. on the Judiciary, et al., to
William P. Barr, Att’y Gen., U.S. Dep’t of Justice, at 1-2 (Mar. 25, 2019); Exhibit M, Letter
from Nancy Pelosi, Speaker, House of Representatives, et al., to William P. Barr, Att’y Gen.,
U.S. Dep’t of Justice, at 1 (Apr. 19, 2019); Exhibit N, Letter from Jerrold Nadler, Chairman, H.
Comm. on the Judiciary, to William P. Barr, Att’y Gen., U.S. Dep’t of Justice, at 3 (May 3,
2019); Exhibit II, Letter from Jerrold Nadler, Chairman, H. Comm. on the Judiciary to William
A. Burck (May 7, 2019) (responding to Exhibit JJ, Letter from William A. Burck to Jerrold
Nadler, Chairman, H. Comm. on the Judiciary (May 7, 2019)).
       140
           See, e.g., Lessons from the Mueller Report: Presidential Obstruction and Other
Crimes: Hearing Before the H. Comm. on the Judiciary, 116th Cong. (June 10, 2019); Lessons
from the Mueller Report, Part II: Bipartisan Perspectives: Hearing Before the H. Comm. on the
Judiciary, 116th Cong. (June 20, 2019); Exhibit O, Lessons from the Mueller Report, Part III:
“Constitutional Processes for Addressing Presidential Misconduct”: Hearing Before the H.
Comm. on the Judiciary, 116th Cong. (July 12, 2019) (statement of Rep. Nadler, Chairman, H.
Comm. on the Judiciary); see generally Exhibit A, Hearing Tr.
       141
           Exhibit P, Memorandum from Jerrold Nadler, Chairman, H. Comm. on the Judiciary,
to Members of the Committee on the Judiciary, at 3 (July 11, 2019).
       142
           Id. at 2.


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McGahn’s testimony would be relevant have been introduced in the House and referred, pursuant

to House Rules X.1 and XII.2, to the Judiciary Committee for consideration.143




       143
             These include:
       •         Special Counsel Independence and Integrity Act, H.R. 197, 116th Cong. (2019)
                 (limiting the removal of a special counsel only for cause and only by personal
                 action of an Attorney General confirmed by the Senate);
       •         Special Counsel Reporting Act, H.R. 1357, 116th Cong. (2019) (requiring a special
                 counsel to submit a periodic report to Congress and requiring reports upon the
                 removal of the special counsel);
       •         Special Counsel Transparency Act, H.R. 1356, 116th Cong. (2019) (requiring the
                 Attorney General to provide a written explanation to Congress for any material
                 classified or otherwise not made available to the public from a report by the special
                 counsel and requiring the special counsel to take all steps not prohibited by law to
                 disclose to Congress any information he or she believes should be disclosed as part
                 of the oversight role of Congress);
       •         Trusted, Reliable, Unquestioned Method of Procedure for Special Counsel
                 Appointment, Limitations, and Powers Act of 2019, H.R. 47, 116th Cong. (2019)
                 (providing that only the Attorney General may remove or discipline the Special
                 Counsel and only for good cause);
       •         Presidential Pardon Transparency Act, H.R. 1348, 116th Cong. (2019) (requiring
                 the Attorney General within three days of a presidential reprieve or pardon to
                 publish in the Federal Register and on the official website of the President the name
                 of the person pardoned, the date on which the reprieve or pardon issued, and the
                 full text of the reprieve or pardon);
       •         Abuse of the Pardon Prevention Act, H.R. 1627, 116th Cong. (2019) (requiring the
                 Attorney General to submit to Congress all investigative materials related to an
                 offense for which the President pardons an individual if the offense arises from an
                 investigation in which the President, or a relative of the President, is a target,
                 subject, or witness);
       •         Security from Political Interference in Justice Act of 2019, H.R. 3380, 116th Cong.
                 (2019) (requiring the White House and DOJ to log certain communications relating
                 to criminal and civil investigations and to disclose those logs to Congress, DOJ’s
                 Inspector General, and DOJ’s Office of Professional Responsibility);
       •         Defending Elections against Trolls from Enemy Regimes Act, H.R. 3442, 116th
                 Cong. (2019) (amending the Immigration and Nationality Act to provide that aliens
                 who engage in improper election interference are inadmissible and deportable);
                 and


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       63.     On July 24, 2019, the House adopted H. Res. 507 (116th Cong.) (2019),144 which

provides:

               That the House of Representatives ratifies and affirms all current
               and future investigations, as well as all subpoenas previously issued
               or to be issued in the future, by any standing or permanent select
               committee of the House, pursuant to its jurisdiction as established
               by the Constitution of the United States and rules X and XI of the
               Rules of the House of Representatives, concerning or issued directly
               or indirectly to—

                      (1) the President in his personal or official capacity;

                      (2) his immediate family, business entities, or organizations;

                      (3) the Office of the President;

                      (4) the Executive Office of the President;

                      (5) the White House;

                      (6) any entity within the White House;

                      (7) any individual currently or formerly employed by or
                      associated with the White House;

                      (8) any Federal or State governmental entity or current or
                      former employee or officer thereof seeking information
                      involving, referring, or related to any individual or entity
                      described in paragraphs (1) through (7); or

                      (9) any third party seeking information involving, referring,
                      or related to any individual or entity described in paragraphs
                      (1) through (7).145




       •       Duty to Report Act, H.R. 2424, 116th Cong. (2019) (requiring a political
               committee and certain individuals to report to the FBI an offer of a prohibited
               contribution, donation, expenditure, or disbursement from a foreign national).
       144
           See H. Res. 509, § 3 (116th Cong.) (2019) (“House Resolution 507 is hereby
adopted.”).
       145
           H. Res. 507 (emphasis added).
                                                35
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               2. The Judiciary Committee’s Specific Need For McGahn’s Testimony To
                  Conduct An Independent Assessment Of The President’s Misconduct

       64.     McGahn’s testimony is critical to the Judiciary Committee’s independent

assessment of President Trump’s conduct as described in the Special Counsel’s Report. Given

McGahn’s central role as a witness to the President’s wide-ranging potentially obstructive

conduct, the Judiciary Committee cannot fulfill its constitutional legislative, investigative, and

oversight responsibilities—including its consideration of whether to recommend articles of

impeachment—without hearing from him.

       65.     As discussed above, McGahn witnessed or participated in events relevant to

nearly all of the most egregious episodes of possible Presidential obstruction and his statements

to the Special Counsel’s Office are mentioned in the Report more than 160 times. Accordingly,

McGahn is uniquely situated to answer questions critical to the Judiciary Committee’s

investigation regarding the President’s efforts to end or otherwise interfere with the Special

Counsel’s investigation, as well as the President’s attempts to conceal that conduct. McGahn can

give a firsthand account of his discussions with President Trump and other White House aides

about the President’s actions and their reactions to them. In addition, McGahn was responsible

for facilitating communications between the White House and DOJ, and advising the President

on the propriety of such communications.146 Further, McGahn can explain the extent to which

he raised concerns about the President’s behavior to others in the White House or to DOJ

personnel, and how or whether the President responded to these concerns. McGahn also was

present when President Trump inquired about the status of certain witnesses’ cooperation with


       146
          For example, on January 27, 2017, McGahn wrote a memorandum to White House
Staff governing communications restrictions between the White House and personnel at DOJ.
See Exhibit Q, Memorandum from Donald F. McGahn II, Counsel to the President, to White
House Staff (Jan. 27, 2017).


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the government and can accordingly shed additional light on the President’s conduct and

potential attempts to influence their testimony.147

          66.    In addition, McGahn’s testimony would provide significant evidence of the

President’s motivations for his actions. McGahn’s firsthand account of the specific words, tone,

emotional state, body language, and other actions of the President when he instructed McGahn to

have Special Counsel Mueller fired148—and then when the President ordered McGahn to create a

document falsely contradicting a press account of the incident149—would be of critical aid to the

Judiciary Committee in assessing the President’s intent, including the extent to which the

President may have used his position to intimidate his subordinates even after they raised

objections about the propriety of his actions. Because the President refused to sit for an

interview or answer written questions related to the investigation into obstructive conduct,

McGahn’s testimony regarding the context and severity of these events recounted in the Report

is particularly important.

          67.    Finally, because President Trump has disputed significant portions of these

events, has openly accused McGahn of fabricating facts, and has made claims that conflict with

other facts gathered by the Special Counsel during the investigation, the Judiciary Committee

must hear from McGahn directly. The Judiciary Committee has an urgent interest in resolving

any factual disputes, including understanding McGahn’s responses to the President’s recent

allegations about him, and assessing McGahn’s credibility as a witness to these now-disputed

events.




          147
              See supra II(A)(2)(e) (citing Report, Vol. II at 123).
          148
              Report, Vol. II at 85-86.
          149
              Id. Vol. II at 115-16.
                                                    37
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       68.     For all of these reasons, live testimony from McGahn is essential to providing a

complete and independent understanding of the facts and resolving any conflicting accounts of

the evidence. Indeed, the Supreme Court has long recognized the importance of live testimony

for such purposes, including the necessity of cross-examining a witness in person, “the greatest

legal engine ever invented for the discovery of truth.”150 Mueller similarly affirmed that “the

testimony of [a] witness[] goes to the heart of just about any criminal case.”151

               3. The Judiciary Committee’s Unsuccessful Attempts To Reach An
                  Accommodation With McGahn

                   a. Efforts To Secure McGahn’s Testimony

       69.     In an attempt to avoid the need to bring this lawsuit, the Judiciary Committee has

repeatedly tried to reach an accommodation to secure McGahn’s testimony. This effort has not

succeeded and has resulted in a stalemate.

       70.     Upon opening its investigation, on March 4, 2019, the Judiciary Committee issued

voluntary document requests to McGahn, along with a number of other witnesses it believed to

possess relevant information.152 On March 18, 2019, private counsel for McGahn notified the

Judiciary Committee that he had forwarded the requests to the Trump Campaign and the White

House.153

       71.     On April 3, 2019, when the White House did not respond to the Judiciary

Committee’s voluntary document request to McGahn and others, the Judiciary Committee

adopted a Resolution authorizing the issuance of subpoenas in connection with its investigation,


       150
           California v. Green, 399 U.S. 149, 158 (1970).
       151
           Exhibit E, Hearing Tr. at 57.
       152
           Exhibit R, Letter from Jerrold Nadler, Chairman, H. Comm. on the Judiciary, to
Donald F. McGahn II, at 1 (Mar. 4, 2019).
       153
           Exhibit S, Letter from William A. Burck to Jerrold Nadler, Chairman, H. Comm. on the
Judiciary (Mar. 18, 2019).


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including the McGahn Subpoena.154 Chairman Nadler did not issue the subpoenas at that time in

order to allow those subject to the authorized subpoenas, including McGahn, the opportunity to

provide the materials voluntarily.

        72.     On April 22, 2019, when the Judiciary Committee still had not received a single

document in response to its requests, Chairman Nadler issued the McGahn Subpoena with a

return date for McGahn’s testimony on May 21, 2019.155

        73.     On May 15, 2019, the White House responded to the Judiciary Committee’s

March 4 voluntary requests, stating that “the appropriate course is for the Committee to

discontinue its inquiry discussed in the March 4 letter,” and refusing to provide any documents at

that time.156




        154
            Exhibit T, Markup of Resolution Authorizing Issuance of Subpoenas Before the H.
Comm. on the Judiciary, 116th Cong. (Apr. 3, 2019).
        155
            Exhibit U, Subpoena from Judiciary Committee to Donald F. McGahn II (Apr. 22,
2019). The McGahn Subpoena additionally sought documents in McGahn’s possession, custody,
or control by May 7, 2019. The Judiciary Committee has engaged in extensive negotiations with
the White House regarding McGahn’s document production to allow the Judiciary Committee to
review these documents, which are also in the possession of DOJ. The Judiciary Committee and
the White House reached an accommodation whereby the Judiciary Committee will be provided
the opportunity to review these documents on a rolling basis at specific times designated by DOJ
but will not be able to retain them or disclose the contents. On July 26, the Judiciary Committee
confirmed its acceptance of that agreement, and, on August 1, the White House said that it would
shortly be in touch on scheduling for the document review. Accordingly, this Complaint
addresses and seeks enforcement of the McGahn Subpoena only as it relates to McGahn’s
testimony.
        156
            Exhibit V, Letter from Pat A. Cipollone, Counsel to the President, to Jerrold Nadler,
Chairman, H. Comm. on the Judiciary, at 3-4 (May 15, 2019) (stating that if “the Committee
intends to continue its inquiry, it would greatly advance that process if the Committee were to
narrow the scope of the requests in the March 4 letter and articulate the legislative purpose and
legal basis supporting each of the remaining requests”); see Exhibit KK, Letter from Jerrold
Nadler, Chairman, H. Comm. on the Judiciary to Letter to Pat A. Cipollone, Counsel to the
President (May 16, 2019) (responding, in part, to Exhibit V).


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       74.     On May 17, 2019, Chairman Nadler wrote to McGahn, noting that his presence

before the Judiciary Committee on May 21, 2019, was legally required pursuant to the April 22

subpoena.157 The letter explained that the Judiciary Committee intended “to focus on the very

topics covered in the Special Counsel’s Report,” over which “there can be no valid assertion of

executive privilege.”158

       75.     On May 20, 2019, the afternoon before McGahn’s scheduled appearance, White

House Counsel Pat Cipollone wrote to Chairman Nadler. Cipollone’s letter stated that DOJ had

advised that “McGahn is absolutely immune from compelled congressional testimony with

respect to matters occurring during his service as a senior adviser to the President.”159 The letter

attached an OLC opinion advising that “Congress may not constitutionally compel the

President’s senior advisers to testify about their official duties.”160 That opinion acknowledged,

however, that the Attorney General’s public release “of a redacted version of the Special

Counsel’s report (with the President’s consent) does extinguish the Executive Branch’s

confidentiality interests in the precise information that has already been revealed” in the

Report.161 Based on OLC’s advice, Cipollone notified the Judiciary Committee that the

President had directed McGahn not to attend the hearing.162

       76.     That same evening, private counsel for McGahn wrote to Chairman Nadler that

McGahn “finds himself facing contradictory instructions from two co-equal branches of




       157
          Exhibit W, Letter from Jerrold Nadler, Chairman, H. Comm. on the Judiciary, to
Donald F. McGahn II, at 2 (May 17, 2019).
      158
          Id. at 1.
      159
          Exhibit B at 1.
      160
          Exhibit C at 1.
      161
          Id. at 13.
      162
          Exhibit B at 2.


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government” and therefore would decline to appear at the next day’s hearing.163 McGahn’s

counsel further asserted that “McGahn remains obligated to maintain the status quo,” pending

any accommodation between the Judiciary Committee and the White House.164

       77.     Chairman Nadler immediately responded to McGahn, stating that McGahn’s

appearance was compelled by law, regardless of the White House’s direction, including because

OLC’s analysis “has no support in relevant case law, and its arguments have been flatly rejected

by the courts.”165 Further, Chairman Nadler explained that President Trump’s order that

McGahn not appear was “unprecedented”—OLC did not point to any prior instance “where

Congress planned to ask [a] White House aide about possible crimes committed by the

President” and that aide “refused to testify.”166

       78.     On May 21, 2019, the Judiciary Committee convened for its scheduled hearing.

Neither McGahn nor the White House had sought any legal recourse—McGahn simply refused

to appear. During opening statements, Chairman Nadler reiterated McGahn’s legal obligation to

appear, and offered McGahn the chance to “immediately correct his mistake.”167 McGahn did

not respond.




       163
            Exhibit X, Letter from William A. Burck to Jerrold Nadler, Chairman, H. Comm. on
the Judiciary, at 1-2 (May 20, 2019).
        164
            Id. at 2.
        165
            Exhibit GG, Letter from Jerrold Nadler, Chairman, H. Comm. on the Judiciary, to
Donald F. McGahn II, at 1 (May 20, 2019).
        166
            Id. at 1-2.
        167
            Exhibit Y, Oversight of the Report by Special Counsel Robert S. Mueller, III: Former
White House Counsel Donald F. McGahn, II: Hearing Before the H. Comm. on the Judiciary,
116th Cong. (May 21, 2019) (statement by Jerrold Nadler, Chairman, H. Comm. on the
Judiciary), Hearing Tr. at 4.


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       79.     On May 31, 2019, Chairman Nadler again wrote to McGahn and Cipollone.168

Chairman Nadler offered “to discuss any reasonable accommodation(s) that would facilitate

McGahn’s appearance” before the Judiciary Committee, including “limiting [his] testimony,”

“identifying with greater specificity the precise areas of intended inquiry,” and “agreeing to the

presence of White House counsel during any testimony.”169 Chairman Nadler requested that

McGahn inform the Judiciary Committee whether he was willing to engage in accommodation

discussions by June 7, 2019.170 Neither McGahn nor Cipollone responded to the Judiciary

Committee’s letter.

       80.     From mid to late June, the Judiciary Committee had a series of discussions with

attorneys in the White House Counsel’s Office to discuss the McGahn Subpoena and attempt to

reach a compromise regarding McGahn’s public testimony. During those discussions, the

Judiciary Committee offered to limit McGahn’s testimony to matters that overlap with the

Special Counsel’s Report. It also proposed withdrawing the McGahn Subpoena so that

McGahn’s appearance would be voluntary and agreed to consider any other reasonable

accommodation for McGahn’s public testimony that would be amenable to the President. These

offered accommodations were contingent on reaching an agreement for McGahn’s prompt

testimony. The White House Counsel attorneys agreed to consider the offers, and negotiations

continued through mid-July.

       81.     On July 17, 2019, attorneys in the White House Counsel’s Office indicated that

they would not accept any of the proposed accommodations for McGahn’s public testimony.




       168
          Exhibit Z, Letter from Jerrold Nadler, Chairman, H. Comm. on the Judiciary, to
Donald F. McGahn II and Pat A. Cipollone, Counsel to the President (May 31, 2019).
      169
          Id. at 2.
      170
          Id.
                                                42
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       82.     On July 18, the Judiciary Committee reached out again to McGahn’s private

counsel to discuss whether the Judiciary Committee could offer any accommodation that would

cause McGahn to comply with the subpoena and to avoid the need for litigation.

       83.     On July 26, McGahn’s counsel rejected all accommodation efforts for public

testimony and confirmed that McGahn would continue to follow the President’s instruction not

to appear. After months of attempted accommodation, the Judiciary Committee and McGahn are

therefore now at an impasse.

                   b. The Judiciary Committee’s Efforts To Secure Relevant Information
                      Through Other Means

       84.     In addition to seeking a reasonable accommodation with McGahn for his

testimony, the Judiciary Committee has made efforts to secure information from other witnesses

to President Trump’s obstructive conduct described in the Report. The White House has blocked

those efforts as well.

       85.     On May 21, 2019, the Judiciary Committee issued subpoenas to Annie Donaldson

Talley, McGahn’s former chief of staff, and Hope Hicks, the former White House

communications director, both of whom were present for certain of the episodes of Presidential

obstruction described in the Report.171

       86.     The White House has taken the position that Hicks, like McGahn, is “absolutely

immune” from being compelled to testify before Congress.172 Although Hicks voluntarily

appeared for an interview on June 19, 2019, lawyers from the White House and OLC objected



       171
           See Exhibit AA, Subpoena from Judiciary Committee to Annie Donaldson Talley
(May 21, 2019); see also Exhibit BB, Subpoena from Judiciary Committee to Hope Hicks (May
21, 2019).
       172
           Exhibit CC, Letter from Pat A. Cipollone, Counsel to the President, to Jerrold Nadler,
Chairman, H. Comm. on the Judiciary, at 1 (June 18, 2019).


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155 times to questions posed to Hicks on the asserted basis of “absolute immunity.”173 As to

Donaldson, although the Judiciary Committee reached an accommodation due to medical reasons

allowing her to submit written answers to its questions, her responses included a direction by the

White House not to answer over 200 of the questions because the answers would “implicate

constitutionally-based Executive Branch confidentiality interests.”174

               4. The Administration’s Purported Justifications For McGahn’s Refusal To
                  Testify

                       a.      “Absolute Immunity”

       87.     McGahn, a private citizen, has defied the Judiciary Committee’s subpoena based

on a purported order from President Trump. The sole basis for this order and for McGahn’s

resulting refusal to testify is the assertion that McGahn, as a former Presidential adviser, is

“absolutely immune” from compelled testimony to Congress.175

       88.     Specifically, the Executive Branch has taken the position that, under separation-

of-powers principles, “Congress may not constitutionally compel the President’s senior advisers

to testify about their official duties.”176 Under this theory, certain Presidential advisers are

absolutely immune from appearing before Congress to testify—even if Congress can

demonstrate a compelling need for the information.



       173
            See generally Exhibit EE, Transcribed Interview of Hope Hicks, H. Comm. on the
Judiciary, 116th Cong. (June 19, 2019).
        174
            Exhibit FF, Letter from Michael M. Purpura, Dep’y Gen. Counsel to the President, to
Sandra Moser, at 1 (July 5, 2019); see also Exhibit DD, Letter from Pat A. Cipollone, Counsel to
the President, to Jerrold Nadler, Chairman, H. Comm. on the Judiciary, at 1 (June 4, 2019). The
White House, however, did not object to Ms. Donaldson answering other questions, including
whether she told the truth during her interview with the Special Counsel in response to questions
about specific statements attributed to her in the Report. See Exhibit HH, Letter from Sandra
Moser to Jerrold Nadler, Chairman, H. Comm. on the Judiciary, at 3-5 (July 5, 2019).
        175
            Exhibit B at 1; Exhibit C at 1.
        176
            Id.


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       89.     This “absolute immunity” doctrine has no grounding in the Constitution, any

statutes, or case law and never has been accepted by any court. Indeed, the only court ever to

consider the issue “reject[ed] the Executive’s claim of absolute immunity for senior presidential

aides,” explaining that the Executive Branch’s position would, among other things, “eviscerate

Congress’s historical oversight function.”177 Moreover, the President has cited no legal authority

for his purported ability to direct a private citizen to disobey a lawfully issued Congressional

subpoena other than an OLC opinion, which is not law and has no binding effect outside the

Executive Branch.

                       b. Executive Privilege

       90.     The Executive Branch has long taken the position that the President can protect

certain Presidential communications from disclosure by asserting executive privilege.178 The

President, however, has not invoked executive privilege in response to the Judiciary Committee’s

McGahn Subpoena.

       91.     Regardless, the President has waived executive privilege over much of the

testimony the Judiciary Committee seeks, including McGahn’s testimony about matters and

information discussed in the published Report. Courts, including the D.C. Circuit, have

recognized that the release of a document or information to a third party “waives [executive]

privilege[] for the document or information specifically released.”179

       92.     Here, President Trump has waived executive privilege over the matters and

information discussed in the Special Counsel’s publicly released Report. In a press conference



       177
           Comm. on the Judiciary, U.S. House of Representatives v. Miers, 558 F. Supp. 2d 53,
99, 103 (D.D.C. 2008).
       178
           See In re Sealed Case, 121 F.3d 729, 736-40 (D.C. Cir. 1997).
       179
           Id. at 741.


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accompanying Attorney General Barr’s public release of a redacted version of the Report, the

Attorney General confirmed that the President “would not assert privilege over the Special

Counsel’s report” and, therefore, the Report contained “no material … redacted based on

executive privilege.”180 Moreover, OLC has admitted that the Attorney General’s release “of a

redacted version of the Special Counsel’s report (with the President’s consent) … extinguish[ed]

the Executive Branch’s confidentiality interests in the precise information” revealed in the

Report.181

       93.     By allowing the Special Counsel to interview White House aides and obtain

White House documents, President Trump also has waived executive privilege over the

information disclosed during those interviews and in those documents. Indeed, the President’s

personal attorney informed the Special Counsel that, “[i]n an effort to provide complete

transparency, the President waived the obviously applicable privileges” to allow relevant

witnesses to share information with the Special Counsel’s Office.182

       94.     McGahn sat for at least five interviews with the Special Counsel’s investigators

from November 30, 2017, through February 28, 2019.183 According to a public statement issued

by McGahn’s counsel, “President Trump, through counsel, declined to assert any privilege over

Mr. McGahn’s testimony” when the Special Counsel’s team sought these interviews, “so Mr.




       180
           Barr Public Statement.
       181
           Exhibit C at 13.
       182
           Letter from John M. Dowd and Jay A. Sekulow to Robert S. Mueller, Re: Request for
Testimony on Alleged Obstruction of Justice (Jan. 29, 2018), https://perma.cc/HUW9-J4VD.
       183
           See, e.g., Report Vol. II at 31, 35, 52, 63, and 84 (citing FBI “302” reports of
McGahn’s interviews from five separate dates: Nov. 30, 2017; Dec. 12, 2017; Dec. 14, 2017;
Mar. 8, 2018; and Feb. 28, 2019).


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McGahn answered the special counsel team’s questions fulsomely and honestly.”184 The White

House also provided McGahn and his counsel documents relating to his interviews, and upon

information and belief they retained these documents after McGahn left government service,

which would also waive any executive privilege over the information contained in those

documents.185

       95.      Finally, even aside from the fact that it was waived here, executive privilege is a

qualified privilege that can be overcome by a sufficient showing of need.186 McGahn’s

testimony regarding President Trump’s potentially obstructive conduct is crucial to the Judiciary

Committee’s independent investigation and its decision whether to recommend articles of

impeachment. Additionally, President Trump’s conduct has diminished any legitimate

confidentiality interest he may have had over McGahn’s testimony, while underscoring the

Judiciary Committee’s need for that testimony. The President has, as set forth, repeatedly and

publicly addressed the events described in the Mueller Report—primarily by denying that he

ever attempted to fire Special Counsel Mueller. He has attacked McGahn’s character and

credibility, including by accusing McGahn of lying to Special Counsel Mueller in order to “make

… himself look like a good lawyer.”187 As the D.C. Circuit has long held, “a party may not use

privilege ‘as a tool for manipulation of the truth-seeking process.’”188 Therefore, even if the


       184
            Michael S. Schmidt & Maggie Haberman, White House Counsel, Don McGahn, Has
Cooperated Extensively in Mueller Inquiry, N.Y. Times (Aug. 18, 2018),
https://perma.cc/5MN4-JN52.
        185
            See In re Sealed Case, 121 F.3d at 741-42.
        186
            United States v. Nixon, 418 U.S. 683, 705-07 (1974).
        187
            See, e.g., Transcript: ABC News’ George Stephanopoulos’ Exclusive Interview with
President Trump, ABC News (June 16, 2019), https://perma.cc/3WL3-G8J9; see also supra
II(A)(3).
        188
            In re Kellogg Brown & Root, Inc., 796 F.3d 137, 145 (D.C. Cir. 2015) (quoting In re
Sealed Case, 676 F.2d 793, 807 (D.C. Cir. 1982)).


                                                 47
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President were to assert executive privilege over McGahn’s testimony at this late date, the

Judiciary Committee’s need for the information outweighs any asserted Executive Branch

interest in confidentiality.189

          5. Injury To The Judiciary Committee

        96.     McGahn’s refusal without a lawful basis to testify before the Judiciary Committee

constitutes an ongoing and irreparable injury.

        97.     McGahn is the Judiciary Committee’s most important fact witness in its

consideration of whether to recommend articles of impeachment and its related investigation of

misconduct by the President, including acts of obstruction of justice described in the Special

Counsel’s Report. President Trump has redoubled his efforts to prevent the Judiciary

Committee’s scrutiny of his conduct by attempting to block the Judiciary Committee’s subpoena

to McGahn. Indeed, he has publicly declared, “I don’t want people testifying to [House

Democrats],”190 and has announced, “We’re fighting all the subpoenas.”191 These actions, and

McGahn’s resultant refusal to testify, deprive the Judiciary Committee of its ability to exercise

its proper functions and strike at the core of Congress’s mandated role in our constitutional

system.

        98.     In addition, the Judiciary Committee has an urgent oversight duty to protect

ongoing investigations from improper interference, to ascertain whether improper political

considerations are causing DOJ to open new investigations, and to consider potential legislation

before the Judiciary Committee on these issues. McGahn, who repeatedly advised the President


        189
            See id. at 707-13.
        190
            Robert Costa et al., Trump Says He Is Opposed to White House Aides Testifying to
Congress, Deepening Power Struggle with Hill, Wash. Post (Apr. 23, 2019),
https://perma.cc/FL3H-TUXL.
        191
            See Remarks by President Trump Before Marine One Departure, White House (Apr.
24, 2019), https://perma.cc/W7VZ-FZ3T.
                                                 48
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against interfering in DOJ investigations and was responsible for managing contacts between the

White House and DOJ, is uniquely situated to inform the Judiciary Committee’s current

oversight efforts with regard to these concerns.

       99.       McGahn’s refusal to comply with the Judiciary Committee’s subpoena interferes

with the House’s ability to perform these core constitutional functions in at least the following

specific ways:

       100.      First, as set forth above, the Judiciary Committee has the responsibility of

determining whether to recommend articles of impeachment against the President for possible

misconduct described in the Special Counsel’s Report—whether in the form of those articles

already referred to the Judiciary Committee,192 or through additional or other articles the

Judiciary Committee itself may choose to draft. Consideration of this remedy is an urgent task.

As DOJ itself has explained, “the Framers … specifically determined that the public interest in

immediately removing a sitting President whose continuation in office poses a threat to the

Nation’s welfare outweighs the public interest in avoiding the Executive burdens incident

thereto.”193 As discussed above, McGahn’s testimony is crucial to the Judiciary Committee’s

investigation—and by refusing to comply with the Judiciary Committee’s subpoena, McGahn is

interfering with the House’s ability to exercise its constitutional responsibility. Without

McGahn’s firsthand testimony regarding the key episodes of potential Presidential misconduct

he observed, the Judiciary Committee is significantly hampered in assessing the full facts and

circumstances surrounding the President’s actions.




       192
           See 165 Cong. Rec. H211 (daily ed. Jan. 3, 2019) (noting referral of H. Res. 13 to
Comm. on the Judiciary).
       193
           A Sitting President’s Amenability to Indictment and Criminal Prosecution, 24 Op.
O.L.C. 222, 258 (2000) (emphasis added).
                                                   49
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       101.    Second, McGahn’s refusal to testify deprives the Judiciary Committee of

information urgently needed to conduct oversight of DOJ, including regarding any improper

political interference with ongoing investigations. The Report describes repeated efforts by the

President to influence and undermine the Special Counsel’s investigation. The Special

Counsel’s Office referred or transferred 25 additional matters to other offices within the

Department, many of which are ongoing.194 At least some ongoing matters may implicate the

President personally, such as the prosecution of Roger Stone and the reported investigation of the

President’s 2017 inaugural committee.195 Given the President’s extensively documented

attempts to interfere with the Special Counsel’s investigation, these matters may be equally

vulnerable to the President’s interference. For example, public reporting indicates that President

Trump may already have attempted to interfere in proceedings in New York involving his former

personal attorney, Michael Cohen.196

       102.    Third, McGahn’s refusal to testify is impeding the Judiciary Committee’s ability

to fully assess potential remedial legislation relating to the types of obstructive conduct described

in the Special Counsel’s Report. For example, McGahn’s testimony would directly inform the

Committee’s consideration of whether existing regulatory protections for special counsels are

adequate. His testimony also would directly inform the Judiciary Committee’s consideration of




       194
            Report, App. D-1 to D-6.
       195
            Indictment, United States v. Roger Stone, No. 1:19-cr-18 (D.D.C. Jan. 24, 2019);
Maggie Haberman & Ben Protess, Trump Inaugural Committee Ordered to Hand Over
Documents to Federal Investigators, N.Y. Times (Feb. 4, 2019) (describing investigation of
President Trump’s 2017 inaugural committee), https://perma.cc/3F27-YLAZ.
        196
            Mark Mazzetti et al., Intimidation, Pressure and Humiliation: Inside Trump’s Two-
Year War on the Investigations Encircling Him, N.Y. Times (Feb. 19, 2019),
https://perma.cc/7TR6-EN32.


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pending legislation referred to the Judiciary Committee to protect the independence of special

counsel investigations.197

          103.      Fourth, McGahn’s refusal to testify deprives the Judiciary Committee of

important evidence needed to (1) ensure that DOJ and the FBI are allocating appropriate

resources toward protecting America’s elections in 2020 and thereafter; and (2) consider fully

potential remedial legislation on election security, including requiring candidates to report

certain foreign contacts.

          104.      These injuries to the Judiciary Committee are grave, ongoing, and irreparable.

Each day that McGahn refuses to testify, the Judiciary Committee is deprived of its ability to

carry out the significant Article I task of determining whether to recommend that the President

be impeached and potentially removed from office. Moreover, each day McGahn refuses to

testify, the Judiciary Committee is deprived of testimony that would inform its oversight of DOJ

and consideration of legislation that may be urgently needed.

          105.      Furthermore, because the House is not a continuing body, the Judiciary

Committee’s investigation and the articles of impeachment referred to the Committee related to

that investigation will necessarily end on January 3, 2021. The Judiciary Committee requires a

substantial period in advance of that date to perform its constitutional duties. Every day that the

Judiciary Committee is without McGahn’s testimony further delays its ability to pursue its

inquiries on issues of national importance before the current Congress ends. Even assuming a

future Judiciary Committee were to decide to continue the investigation, it would have to




          197
                See, e.g., Special Counsel Independence and Integrity Act, H.R. 197, 116th Cong.
(2019).
                                                    51
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reconsider any articles of impeachment and reissue similar requests and subpoenas, thus

resulting in even further delay.

                                SPECIFIC CLAIM FOR RELIEF

                        COUNT: ARTICLE I OF THE CONSTITUTION

        106.    The Judiciary Committee incorporates by reference and realleges the preceding

paragraphs, as if set forth fully herein.

        107.    The McGahn Subpoena was duly authorized, issued, and served pursuant to the

Judiciary Committee’s powers under Article I of the Constitution of the United States.

        108.    The McGahn Subpoena required McGahn to appear for testimony before the

House Judiciary Committee on May 21, 2019, yet McGahn did not appear as required.

        109.    The Judiciary Committee has attempted to make reasonable accommodations for

McGahn’s testimony, but those efforts are at an impasse and McGahn continues to refuse to

testify publicly before the Committee.

        110.    There is no lawful basis for McGahn’s refusal to appear before the Judiciary

Committee.

        111.    McGahn enjoys no absolute immunity from appearing before the Judiciary

Committee.

        112.    The President has waived executive privilege as to the subpoenaed testimony that

relates to matters and information discussed in the Report.

        113.    McGahn has violated and continues to violate his legal obligations by refusing to

appear before the Judiciary Committee as required by the subpoena and, moreover, by refusing

to answer questions where there has been no assertion of executive or other privilege or where

executive privilege has been waived.



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       114.     As a result, the Judiciary Committee has been, and will continue to be, injured by

McGahn’s actions.

                                    PRAYER FOR RELIEF

           WHEREFORE, the Judiciary Committee respectfully prays that this Court:

       A.       Pursuant to 28 U.S.C. §§ 2201 and 2202, enter declaratory and injunctive relief as

follows:

             1. Declare that McGahn’s refusal to appear before the Committee in response to the

                subpoena issued to him was without legal justification;

             2. Issue an injunction ordering McGahn to appear and testify forthwith before the

                Committee; and

             3. Issue an injunction ordering McGahn to testify as to matters and information

                discussed in the Special Counsel’s Report and any other matters and information

                over which executive privilege has been waived or is not asserted.

       B.       Retain jurisdiction to review any disputes that may arise regarding compliance

with this Court’s order.

       C.       Grant the Committee such other and further relief as may be just and proper under

the circumstances.




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                                             Respectfully submitted,

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August 7, 2019



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            Attorneys for the Office of General Counsel for the U.S. House of Representatives are
“entitled, for the purpose of performing the counsel’s functions, to enter an appearance in any
proceeding before any court of the United States or of any State or political subdivision thereof
without compliance with any requirements for admission to practice before such court.” 2
U.S.C. § 5571. The Office of General Counsel wishes to acknowledge the assistance of law
clerks Lily Hsu, a student at The George Washington University Law School, Nate King, a
student at The Catholic University of America, Columbus School of Law, and legal assistant
Henry Raffel, a student at the University of Michigan, in preparing this complaint. The Institute
for Constitutional Advocacy and Protection also wishes to acknowledge the assistance of law
clerk Nikita Lalwani, a student at Yale Law School.
                                               54
